Case 3:13-cr-01657-AJB    Document 72      Filed 05/06/14         PageID.123         Page 1 of 1



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 8                        UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                               CASE NO. 13CR1657-AJB
12                                   Plaintiff,               JUDGMENT AND ORDER
            vs.                                               OF DISMISSAL OF
13                                                            INFORMATION
      FELICIA MARIE MARTINEZ(l),
14
15                                  Defendant.
16
17         Upon motion of the UNITED STATES OF AMERICA and good cause
18   appearing, the Information in the above entitled case is dismissed with prejudice, the
19   bond is exonerated and, if held by the U.S. Pretrial Services, Defendant's passport is
20   to be released to Defendant.
21         IT IS SO ORDERED.

22         Dated: 5/6/2014

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